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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FT. LAUDERDALE DIVISION

 LAETITIA GIRAUD-GEORGES,              )
                                       )
               Plaintiff,              )                            0:19-cv-62632
                                       )
     v.                                )
                                       )
 COMCAST BUSINESS COMMUNICATIONS, LLC, )
                                       )
               Defendant.              )

                                         COMPLAINT


        NOW COMES the Plaintiff, LAETITIA GERAUD-GEORGES, by and through her

 attorneys, SMITHMARCO, P.C., and for her complaint against the Defendant, COMCAST

 BUSINESS COMMUNICATIONS, LLC, Plaintiff states as follows:

                               I.     PRELIMINARY STATEMENT

        1.     This is an action for actual and statutory damages for violations of the Fair Credit

 Reporting Act (hereinafter “FCRA”), 15 U.S.C. §1681, et. seq.

                                II.     JURISDICTION & VENUE

        2.     Jurisdiction arises under the Fair Credit Reporting Act 15 U.S.C. §1681, et. seq.,

 and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

        3.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                         III.   PARTIES

        4.     LAETITIA GERAUD-GEORGES, (hereinafter, “Plaintiff”) is an individual who

 was at all relevant times residing in the City of Ft. Lauderdale, County of Broward, State of

 Florida.



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        5.      At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

 U.S.C. §1681a(c).

        6.       COMCAST         BUSINESS         COMMUNICATIONS,             LLC,      (hereinafter,

 “Defendant”) is a business entity engaged in the sales of telecommunication services within the

 State of Florida. Defendant’s principal place of business is located in the State of Pennsylvania.

 Defendant is incorporated in the State of Florida.

        7.      At all relevant times Defendant was a “person” as that term is defined by 15

 U.S.C. §1681a(b).

                                       IV.     ALLEGATIONS

        8.      Credit reports, as alleged in this pleading, are “consumer reports” as that term is

 defined by 15 U.S.C. §1681a(d).

        9.      At no time on or prior to August 28, 2019 did Plaintiff have a personal credit

 account with Defendant.

        10.     At no time on or prior to August 28, 2019 did Plaintiff owe a debt to Defendant.

        11.     At no time on or prior to August 28, 2019 did Plaintiff have a personal business

 relationship with Defendant.

        12.     Given the facts delineated above, prior to August 28, 2019, Defendant had no

 information in its possession to suggest that Plaintiff owed a debt to Defendant.

        13.     Given the facts delineated above, prior to August 28, 2019, had no information in

 its possession to suggest that Plaintiff was responsible to pay a debt to Defendant.

        14.     On or about August 28, 2019, despite being cognizant of the facts as delineated

 above, Defendant accessed Plaintiff’s individual and personal credit file from the “consumer

 reporting agency” (Equifax), as that term is defined by 15 U.S.C. §1681a(f).


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         15.     At no time on or prior to August 28, 2019 did Plaintiff consent to Defendant

 accessing her individual and personal credit report.

         16.     On or about August 28, 2019, despite being cognizant of the facts as delineated

 above, Defendant accessed Plaintiff’s individual and personal credit report without a legitimate

 business reason to do so.

         17.     On or about August 28, 2019, despite being cognizant of the facts as delineated

 above, Defendant accessed Plaintiff’s individual and personal credit report impermissibly.

         18.     On or about August 28, 2019, despite being cognizant of the facts as delineated

 above, Defendant accessed Plaintiff’s individual and personal credit report without first

 informing Plaintiff of its intent to do so.

         19.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, Defendant reviewed Plaintiff’s private information.

         20.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, Defendant impermissibly obtained information relative to

 Plaintiff’s personal and individual credit accounts.

         21.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, Defendant impermissibly obtained information relative to

 Plaintiff’s payment history on her individual credit accounts.

         22.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, Defendant impermissibly obtained information relative to

 Plaintiff’s credit history and credit worthiness.




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         23.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, Plaintiff’s private financial information was published to

 Defendant.

         24.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, unknown employees, representative and/or agents of

 Defendant viewed Plaintiff’s private financial information.

         25.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, Defendant impermissibly obtained personal information

 about Plaintiff.

         26.     On or about August 28, 2019, at the time Defendant accessed Plaintiff’s

 individual and personal credit report, Plaintiff’s personal information, as delineated above, was

 published to Defendant.

         27.     Defendant’s access of Plaintiff’s credit report will continue to be displayed on

 Plaintiff’s credit report for two (2) years subsequent to August 28, 2019.

         28.     Defendant’s conduct, as delineated above, is a violation of 15 U.S.C.

 §1681b(f)(1).

         29.        As a result of Defendant’s conduct, as delineated above, Plaintiff has suffered

 actual damages in the form of financial and dignitary harm arising from the Defendant’s review

 of her personal information and her credit information and an injury to her credit rating and

 reputation. Furthermore, Plaintiff will continue to suffer the same harm for an indefinite time in

 the future, all to Plaintiff’s great detriment and loss.

                                         V.      JURY DEMAND

           30.   Plaintiff hereby demands a trial by jury on all issues so triable.


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                                     VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, LAETITIA GERAUD-GEORGES, by and through her

 attorneys, respectfully prays for Judgment to be entered in favor of Plaintiff and against

 Defendant as follows:

                a.       All actual compensatory damages suffered;

                b.       Statutory damages of $1,000.00 for Defendant’s violation of the FCRA.

                c.       Punitive damages;

                d.       Plaintiff’s attorneys’ fees and costs; and,

                e.       Any other relief deemed appropriate by this Honorable Court.

                                                        Respectfully submitted,
                                                        LAETITIA GERAUD-GEORGES




                                                         By:     s/ David M. Marco
                                                                 Attorney for Plaintiff

    Dated: October 22, 2019

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